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        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                   CENTRAL DIVISION


 USA,

               Plaintiff,                                ORDER OF RECUSAL

         vs.

 Gaylen Dean Rust, et al                                 Case No. 2:19cr164 DB

               Defendant.




        I recuse myself in this case, and ask that the appropriate assignment equalization

card be drawn by the clerk’s office.



        DATED this 14th     day of June, 2019.


                                           BY THE COURT:



                                           ___________________________________
                                           Dee Benson
                                           United States District Judge
